Case 5:18-cv-00402-JSM-PRL Document 126 Filed 07/10/19 Page 1 of 4 PageID 898




                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     OCALA DIVISION

                                CASE NO. 5:18-cv-402-Oc-30PRL

   CASEY E. WALSH,

          Plaintiff,
   vs.

   The CITY OF OCALA, a municipal corporation, et al.,

         Defendants.
   ______________________________________________/

                       DEFENDANT SHERIFF’S RESPONSE
         TO PLAINTIFF’S OBJECTION TO REPORT AND RECOMMENDATION

          COMES NOW the Defendant, Sheriff Billy Woods, by and through his undersigned

   attorneys, pursuant to Federal Rule of Civil Procedure 72(b)(2) and Middle District Local

   Rule 6.02, and responds to the Plaintiff, Casey E. Walsh’s June 28, 2019, Objection and

   Response to Magistrate’s Report and Recommendation. (Doc. 120; Doc. 122.) The Report

   and Recommendation (“the Report”) addresses all the Defendants’ motions to dismiss the

   Plaintiff’s Amended Complaint. (Doc. 70; Docs. 73, 74, 78, 79, 80.) The Sheriff’s Motion to

   Dismiss is Document 73. The Report recommends granting all the Defendants’ motions and

   dismissing Counts I, II, III, IV, V, VI, VII, IX, and XI, which leaves only Counts VIII and X

   against the City of Ocala as viable claims.

          The Report carefully analyzed the Plaintiff’s Amended Complaint and properly

   applied the applicable law in reaching its conclusions. The primary conclusion underlying the

   recommendation to grant the motions is that the Plaintiff failed to successfully allege that the

   actions of Defendant Chief Graham established a plausible claim for hostile environment



                                                  1
Case 5:18-cv-00402-JSM-PRL Document 126 Filed 07/10/19 Page 2 of 4 PageID 899




   sexual harassment. The Amended Complaint added two additional episodes of Chief Graham

   allegedly making offensive comments over the original complaint, resulting in a total of eight

   over a five-year period (with six occurring in 2016). However, the allegations failed to meet

   the bar set by the Eleventh Circuit for an objectively reasonable perception of the conduct

   being severe enough to alter the terms or conditions of employment. (Doc. 120, p. 6-8.)

           Count VI against the Sheriff alleged a conspiracy with three other Defendants,

   including Chief Graham, to violate the Plaintiff’s Fourteenth Amendment rights. The

   Report’s ruling on the failure of the hostile environment sexual harassment claim resulted in

   Count VI’s dismissal as there was no Fourteenth Amendment violation to support a

   conspiracy claim. See Hadley v. Gutierrez, 526 F.3d 1324, 1332 (11th Cir. 2008) (citing

   Bendiburg v. Dempsey, 909 F.2d 463, 469 (11th Cir. 1990), cert. denied, 500 U.S. 932

   (1991); GJR Invs., Inc. v. County of Escambia, 132 F.3d 1359, 1370 (11th Cir. 1998)). This

   was a correct ruling and should be adopted by the District Court.

           The Plaintiff’s objection to the Report posits that it was error to focus on the

   frequency and severity of the Chief’s comments rather than the Plaintiff’s alleged subjective

   humiliation. (Doc. 122, p. 2.) She cites Mendoza v. Borden, Inc., 195 F.3d 1238 (11th Cir.

   1999) (en banc), cert. denied, 529 U.S. 1068),1 and Reeves v. C.H. Robinson Worldwide,

   Inc., 594 F.3d 798 (11th Cir. 2010) (en banc), both of which were also applied by the Report.

   She asserts she should be allowed to “proceed forward and establish the severity of the

   humiliation that she suffered.” (Doc. 12, p. 4.) The Report provides numerous examples of



   1
    The Mendoza en banc opinion affirmed the trial court’s judgment as a matter of law for the defendant on the
   plaintiff’s sexual harassment and hostile environment claims. Id. at 1241.




                                                         2
Case 5:18-cv-00402-JSM-PRL Document 126 Filed 07/10/19 Page 3 of 4 PageID 900




   opinions in which actions of varying degrees of egregiousness were not considered severe or

   pervasive enough to affect the conditions of employment (Doc. 120, p. 9-11) and Mendoza

   does the same. Mendoza, 195 F.3d at 1251-52. The Report correctly finds the Plaintiff’s

   conclusory allegations of humiliation were insufficient to overcome the objective

   components of lack of frequency and severity of the comments (Doc. 120, p. 11), and the

   ruling should be adopted by the District Court.

          Also dismissed by the Report is Count V, a claim for retaliation made against Sheriff

   Woods and three other Defendants. This ruling is correct as a matter of law pursuant to legal

   precedent holding there is no clearly established right under the Fourteenth Amendment

   Equal Protection Clause to be free from retaliation. (Doc. 120, p. 13, citing Ratliff v. DeKalb

   Cnty, GA, 62 F.3d 338, 340 (11th Cir. 1995)). The Plaintiff’s objection attempts to fit her

   allegations into a narrow exception in which a plaintiff can show the defendant maintained

   and reinforced the sexually hostile environment. (Doc. 122, p. 14.) The only action attributed

   to the Sheriff, who was not the Plaintiff’s employer, was the rescission of her deputy status

   which was granted to selected officers at the Ocala Police Department to extend their

   jurisdictional boundaries in certain circumstances, such as vehicle pursuits. As the Report

   states, this is not plausibly construed as ongoing sexual harassment or to suggest she was

   treated differently based on her gender, nor were the other Defendants’ actions. (Doc. 120, p.

   13.) The recommended dismissal of Count V is a correct ruling and should be adopted by the

   District Court.

          The Sheriff continues to rely on his Motion to Dismiss the Amended Complaint,

   which asserts the Plaintiff has failed to successfully allege any claim against him and




                                                  3
Case 5:18-cv-00402-JSM-PRL Document 126 Filed 07/10/19 Page 4 of 4 PageID 901




   requests the dismissal of the Amended Complaint with prejudice as another amendment

   would be futile. (Doc. 73.) The Report and Recommendation issued in this matter regarding

   the Amended Complaint is correct in all respects and the Sheriff requests its adoption by the

   Court.

                                 CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on July 10, 2019, I electronically filed the foregoing with

   the Clerk of the Court using the CM/EMF system which will send notice of electronic filing to

   the following: Bobi J. Frank, Katherine Gudaitis, Stephanie Pindermann, Margaret Hood

   Mevers, Kielan Saborit and L. Edward McClellan. I further certify that I sent the foregoing

   document and the notice of electronic filing by U.S. Mail to the following non-CM/ECF

   participants: N/A.

                                                /s/ Linda L. Winchenbach
                                                Florida Bar No. 0749249
                                                John M. Green, Jr., P.A.
                                                125 N.E. First Ave., Ste. 2
                                                Ocala, Florida 34470
                                                Tel: (352) 732-9252; Fax: (888) 545-7282
                                                lwinchenbach@me.com
                                                Attorneys for Defendant, Sheriff Billy Woods




                                                 4
